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 8
 9                         UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11
12    DAVID PEREZ,                            Case No.:
13
                  Plaintiff,
                                              COMPLAINT FOR:
14
         vs.
15                                            DENIAL OF CIVIL RIGHTS AND
                                              ACCESS TO PUBLIC FACILITIES
16
      PACIFIC RETAIL CAPITAL                  TO PHYSICALLY DISABLED
17    PARTNERS, LLC; and DOES 1-10,           PERSONS IN VIOLATION OF THE
18                                            AMERICANS WITH DISABILITIES
                                              ACT OF 1990, (42 U.S.C. §12101, et
19                Defendants.                 seq.) AND THE UNRUH CIVIL
20                                            RIGHTS ACT, (CALIFORNIA CIVIL
                                              CODE §51, et seq.)
21
                                              DEMAND FOR JURY TRIAL
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                                      COMPLAINT - 1
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 1         “[T]he continuing existence of unfair and unnecessary discrimination and
           prejudice denies people with disabilities the opportunity to compete on an
 2
           equal basis and to pursue those opportunities for which our free society
 3         is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
           “It is the policy of this state to encourage and enable individuals with a
 5         disability to participate fully in the social and economic life of the state ...”
 6         California Government Code §19230(a).

 7
                    Plaintiff DAVID PEREZ (hereinafter referred to as “Plaintiff”)
 8
       complains of PACIFIC RETAIL CAPITAL PARTNERS, LLC, a Delaware
 9
       limited liability company doing business as PLAZA WEST COVINA; and DOES
10
       1-10, (each, individually a “Defendant” and collectively “Defendants”) and
11
       alleges as follows:
12
                                         I.      PARTIES
13
            1.     Plaintiff DAVID PEREZ is a California resident and a qualified
14
      physically disabled person. He has osteogenesis imperfecta and uses a wheelchair
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      for mobility. Plaintiff prides himself on his independence and on empowering
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      other disabled persons to be independent.
17
            2.     Defendants PACIFIC RETAIL CAPITAL PARTNERS, LLC and
18
      DOES 1-10 are and were the owners, operators, lessors and/or lessees of the
19
      subject business, property, and facility at all times relevant in this Complaint.
20
            3.     Plaintiff does not know the true names of Defendants, their business
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      capacities, their ownership connection to the property and business, or their
22
      relative responsibilities in causing the access violations herein complained of, and
23
      alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
24
      informed and believes that each of the Defendants herein, including DOES 1
25
      through 10, inclusive, is responsible in some capacity for the events herein alleged,
26
      or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
27
28

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 1    amend when the true names, capacities, connections, and responsibilities of the
 2    Defendants and Does 1 through 10, inclusive, are ascertained.
 3           4.     Defendants own and owned the property located at 112 Plaza Drive,
 4    West Covina, CA 91790 (“Subject Property”) at all relevant times.
 5                  Defendants operate and operated a shopping center doing business as
 6     dba PLAZA WEST COVINA (“shopping center”), located at the Subject
 7     Property, at all relevant times.
 8           5.     Plaintiff alleges that the Defendants have been and are the owners,
 9    franchisees, lessees, general partners, limited partners, agents, trustees, employees,
10    subsidiaries, partner companies and/or joint ventures of each of the other
11    Defendants, and performed all acts and omissions stated herein within the course
12    and scope of such relationships causing the damages complained of herein.
13                            II.    JURISDICTION AND VENUE
14           6.     This Court has subject matter jurisdiction over this action pursuant to
15    28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
16    Disabilities Act of 1990, U.S.C. §12101, et seq.
17           7.     Pursuant to supplemental jurisdiction, an attendant and related cause
18    of action, arising out of the same nucleus of operative facts and arising out of the
19    same transactions, is also brought under California’s Unruh Civil Rights Act,
20    which expressly incorporates the Americans with Disabilities Act.
21           8.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
22    and is founded on the fact that the real property which is the subject of this action
23    is located in this district and that Plaintiff’s causes of action arose in this district.
24                                          III.   FACTS
25           9.     Plaintiff uses a wheelchair for mobility.
26           10.    Defendants’ business is open to the public, a place of public
27    accommodation, and a business establishment.
28

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 1          11.   Plaintiff goes to the shopping center regularly. The receipts he
 2    received for his most recent purchases on March 20, 2025, are shown in the photos
 3    below.
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                                         COMPLAINT - 4
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 1          12.    Unfortunately, during Plaintiff’s visit, Defendants did not offer
 2    persons with disabilities equivalent facilities, privileges, advantages, and
 3    accommodations offered to other persons.
 4          13.    Plaintiff encountered barriers that interfered with and denied Plaintiff
 5    the ability to use and enjoy the goods, services, privileges, advantages, and
 6    accommodations offered by Defendants at the Subject Property.
 7          14.    These barriers violate one or more standards of the Americans with
 8    Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
 9    CBC”).
10          15.    Parking for patrons visiting the Subject Property is among the
11    facilities, privileges, advantages, and accommodations offered by Defendants.
12          16.    According to the U.S. Department of Justice, “a public
13    accommodation’s first priority should be to enable individuals with disabilities to
14    physically enter its facility. This priority on ‘getting through the door’ recognizes
15    that providing physical access to a facility from public sidewalks, public
16    transportation, or parking is generally preferable to any alternative arrangements in
17    terms of both business efficiency and the dignity of individuals with disabilities.”
18    ADA Title III Technical Assistance Manual §III-4.4500.
19          17.    When parking is provided, there must be at least one accessible
20    parking space designated and marked for disabled persons. Where more than one
21    parking facility is provided on a site, the number of accessible spaces provided on
22    the site shall be calculated according to the number of spaces required for each
23    parking facility. 2010 ADA §502 et seq.; 2010 ADA §208.2; 2022 CBC 11B-502
24    et seq; 2022 CBC 11B-208.2.
25          18.    However, there is no accessible parking for disabled persons at the
26    Subject Property because there are insufficient accessible parking spaces
27    designated for disabled persons and/or the existing ostensibly designated space or
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 1    spaces are significantly noncompliant with the applicable ADA and CBC
 2    standards.
 3          19.     When Plaintiff visits the Mall to go shopping, he typically parks in the
 4    lot by the building previously occupied by Sears. This shopping center has many
 5    parking facilities which should be inspected by a casP. This inspector will make
 6    recommendations needed to bring the entire shopping center’s parking into
 7    compliance.
 8          20.     There are two ostensibly marked disabled parking spaces in the
 9    parking facility near the Sears store. Neither of these spaces are compliant.
10          21.     The access aisles adjacent to the first marked disabled parking spaces
11    is less than the required width for an accessible space. Adjacent access aisles are
12    required to be 60 inches wide minimum. ADA 2010 §502.3.1; ADA 2010 §502.6;
13    2022 CBC 11B-502.3.3; 2022 CBC 11B 502.6; 28 C.F.R. §36.211(a); 2022 CBC
14    11B-108.
15          22.     The ostensibly designated accessible parking space’s adjacent access
16    aisle did not say “No Parking,” or the paint is so deteriorated it cannot be clearly
17    identified. ADA 2010 §502.3.3; 2022 CBC 11B-502.3.3; 28 C.F.R. §36.211(a);
18    2022 CBC 11B-108.
19          23.     The other ostensibly marked disabled parking space has a sign which
20    says it is van accessible space but has no access aisle whatsoever. ADA 2010
21    §502.3.1; ADA 2010 §502.3.2 ADA 2010 §502.3.3; ADA 2010 §502.6; 2022 CBC
22    11B-502.3.1; 2022 CBC 11B 502.3.2; 2022 CBC 11B-502.3.3; 2022 CBC 11B
23    502.6; 28 C.F.R. §36.211(a); 2022 CBC 11B-108.
24          24.     There is no ADA compliant parking signage. There is a sign stating it
25    is a van accessible space when, in fact, it is not. ADA 2010 §502.6; 2022 CBC
26    11B-502.6, 2022 CBC 11B-703.7.2.1.
27          25.     There is no sign in a conspicuous place at the entrance to the facility,
28    or immediately adjacent to on-site accessible parking and visible from each

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 1    parking space, stating that vehicles parked in designated accessible spaces not
 2    displaying a disabled placard or license plate will be towed. 2022 CBC 11B-502.8.
 3          26.    The photos below show one or more of these violations.
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                                          COMPLAINT - 7
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 1          27.    The barriers existed during Plaintiff’s visit to the Subject Property.
 2    Plaintiff personally encountered these barriers.
 3          28.    These inaccessible conditions and barriers denied Plaintiff full and
 4    equal access and caused him difficulty, discomfort, and embarrassment. Because of
 5    the lack of compliant parking and a compliant access aisle, Plaintiff was placed at
 6    risk of being blocked in by other vehicles and unable to get out of his vehicle or get
 7    back into it. He was also at greater risk of being hit by a car while transferring to
 8    and from his wheelchair.
 9          29.    These barriers denied Plaintiff full and equal access due to his
10    disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
11    and embarrassment which patrons who do not use a wheelchair for mobility do not
12    suffer when they access the Subject Property.
13          30.    Plaintiff has Article III standing because he visits the subject property
14    regularly to go shopping. The Subject Property is conveniently located and in the
15    general area where he lives, shops, goes to medical appointments, visits family and
16    friends, recreates, and does other normal activities in his daily life. Therefore, in
17    addition to his concrete plan to return to the Subject Property to test for ADA and
18    CBC compliance, Plaintiff also intends to return to the Subject Property in the near
19    future to go shopping, after the accessibility barriers alleged herein have been
20    removed.
21          31.    Plaintiff alleges that Defendants knew that the barriers prevented
22    equal access. Plaintiff further alleges that Defendants had actual or constructive
23    knowledge that the architectural barriers prevented equal access, and that the
24    noncompliance with the Americans with Disabilities Act and Title 24 of the
25    California Building Code regarding accessible features was intentional.
26          32.    Defendants have obstructed or failed to maintain, in working and
27    useable conditions, those features necessary to provide ready access to persons
28    with disabilities. “A public accommodation shall maintain in operable working

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 1    condition those features of facilities and equipment that are required to be readily
 2    accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
 3    CBC 11B-108.
 4              33.   The State of California Department of General Servicers, Division of
 5    the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:
 6              Features for accessibility must be permanently functional, unobstructed
                and may not be removed. It is not sufficient to provide features such as
 7
                accessible routes, parking, elevators, ramps or signage if those features
 8              are not maintained in a manner that enables individuals with disabilities
                to use them.
 9
10    DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
11              34.   Defendants have the financial resources to remove these barriers
12    without much expense or difficulty in order to make their property more accessible
13    to their mobility impaired customers. The United States Department of Justice has
14    identified that these types of barriers are readily achievable to remove.
15              35.   To date, Defendants refuse to remove these barriers, in violation of
16    the law, willfully depriving disabled persons including Plaintiff of important civil
17    rights.
18              36.   On information and belief, Plaintiff alleges that the Defendants’
19    failure to remove these barriers was intentional because the barriers are logical and
20    obvious. During all relevant times Defendants had authority, control, and dominion
21    over these conditions and therefore the absence of accessible facilities was not a
22    mishap, but rather an intentional act.
23              37.   The barriers to access are listed above without prejudice to Plaintiff
24    citing additional barriers to equal access by an amended complaint after inspection
25    by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
26    654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
27    2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
28    All of these barriers to access render the premises inaccessible to physically

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 1     disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
 2     may encounter when he returns to the premises. All public accommodations must
 3     be brought into compliance with all applicable federal and state accessibility
 4     requirements.
 5                                FIRST CAUSE OF ACTION
 6                  Violation of the Americans With Disabilities Act of 1990
 7                                  (42 U.S.C. §12101, et seq.)
 8                                   (Against All Defendants)
 9           38.    Plaintiff alleges and incorporates by reference, as if fully set forth
10     again herein, each and every allegation contained in all prior paragraphs of this
11     complaint.
12           39.    More than thirty years ago, the 101st United States Congress found
13     that although “physical or mental disabilities in no way diminish a person’s right to
14     fully participate in all aspects of society, yet many people with physical or mental
15     disabilities have been precluded from doing so because of discrimination…in such
16     critical areas as employment, housing, public accommodations, education,
17     transportation, communication, recreation, institutionalization, health services,
18     voting, and access to public services.” 42 U.S.C. §12101(a).
19           40.    In 1990 Congress also found that “the Nation’s proper goals regarding
20     individuals with disabilities are to assure equality of opportunity, full participation,
21     independent living, and economic self-sufficiency for such individuals,” but that
22     “the continuing existence of unfair and unnecessary discrimination and prejudice
23     denies people with disabilities the opportunity to compete on an equal basis and to
24     pursue those opportunities for which our free society is justifiably famous.” 42
25     U.S.C. §12101(a).
26           41.    In passing the Americans with Disabilities Act of 1990, which was
27     signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
28     “ADA”), Congress stated as its purpose:

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 1           “It is the purpose of this Act
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             (1) to provide a clear and comprehensive national mandate for the
 3           elimination of discrimination against individuals with disabilities;
 4
             (2) to provide clear, strong, consistent, enforceable standards
 5           addressing discrimination against individuals with disabilities;
 6
             (3) to ensure that the Federal Government plays a central role in
 7           enforcing the standards established in this Act on behalf of individuals
 8           with disabilities; and

 9           (4) to invoke the sweep of congressional authority, including the power
10           to enforce the fourteenth amendment and to regulate commerce, in
             order to address the major areas of discrimination faced day to-day by
11           people with disabilities.”
12
       42 USC §12101(b).
13
14           42.    As part of the ADA, Congress passed “Title III – Public
15     Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
16     seq.). Title III of the ADA prohibits discrimination against any person “on the
17     basis of disability in the full and equal enjoyment of the goods, services, facilities,
18     privileges, advantages, or accommodations of any place of public accommodation
19     by any person who owns, leases (or leases to), or operates a place of public
20     accommodation.” 42 U.S.C. §12182(a).
21           43.    The specific prohibitions against discrimination include, inter alia, the
22     following:
23        • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
            shall be discriminatory to afford an individual or class of individuals,
24          on the basis of a disability or disabilities of such individual or class,
25          directly, or through contractual, licensing, or other arrangements, with
            the opportunity to participate in or benefit from a good, service, facility,
26          privilege, advantage, or accommodation that is not equal to that
27          afforded to other individuals.”
28

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 1        • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 2          modifications in policies, practices, or procedures when such
            modifications are necessary to afford such goods, services, facilities,
 3          privileges, advantages, or accommodations to individuals with
 4          disabilities...;”

 5        • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
 6          necessary to ensure that no individual with a disability is excluded,
            denied service, segregated, or otherwise treated differently than other
 7          individuals because of the absence of auxiliary aids and services...;”
 8
          • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 9          barriers, and communication barriers that are structural in nature, in
10          existing facilities... where such removal is readily achievable;”
11
          • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
12          the removal of a barrier under clause (iv) is not readily achievable, a
            failure to make such goods, services, facilities, privileges, advantages,
13
            or accommodations available through alternative methods if such
14          methods are readily achievable.”
15
             44.    Plaintiff is a qualified individual with a disability as defined in the
16
       Rehabilitation Act and in the Americans with Disabilities Act of 1990.
17
             45.    The acts and omissions of Defendants set forth herein were in
18
       violation of Plaintiff’s rights under the ADA and the regulations promulgated
19
       thereunder, 28 C.F.R. Part 36 et seq.
20
             46.    The removal of each of the physical and policy barriers complained of
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       by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
22
       achievable” under the standards of §12181 and §12182 of the ADA. Removal of
23
       each and every one of the architectural and/or policy barriers complained of herein
24
       was already required under California law. Further, on information and belief,
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       alterations, structural repairs or additions since January 26, 1993, have also
26
       independently triggered requirements for removal of barriers to access for disabled
27
       persons per §12183 of the ADA. In the event that removal of any barrier is found
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 1     to be “not readily achievable,” Defendants still violated the ADA, per
 2     §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 3     and accommodations through alternative methods that were “readily achievable.”
 4           47.    On information and belief, as of the date of Plaintiff’s encounter at the
 5     premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 6     physical premises have denied and continue to deny full and equal access to
 7     Plaintiff and to other mobility disabled persons in other respects, which violate
 8     Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 9     the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
10     enjoyment of the goods, services, facilities, privileges, advantages and
11     accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
12           48.    Defendants’ actions continue to deny Plaintiff’s rights to full and
13     equal access and discriminated and continue to discriminate against him on the
14     basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
15     enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
16     accommodations, in violation of the ADA, 42 U.S.C. §12182.
17           49.    Further, each and every violation of the Americans With Disabilities
18     Act of 1990 also constitutes a separate and distinct violation of California Civil
19     Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
20     damages and injunctive relief pursuant to California law, including but not limited
21     to Civil Code §54.3 and §55.
22                              SECOND CAUSE OF ACTION
23                            Violation of the Unruh Civil Rights Act
24                              (California Civil Code §51, et seq.)
25                                    (Against All Defendants)
26           50.    Plaintiff alleges and incorporates by reference, as if fully set forth
27     again herein, each and every allegation contained in all prior paragraphs of this
28     complaint.

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 1            51.    California Civil Code §51 provides that physically disabled persons
 2     are free and equal citizens of the state, regardless of their medical condition or
 3     disability:
 4            All persons within the jurisdiction of this state are free and equal, and
              no matter what their sex, race, color, religion, ancestry, national origin,
 5
              disability, or medical condition are entitled to full and equal
 6            accommodations, advantages, facilities, privileges, or services in all
              business establishments of every kind whatsoever.
 7
 8     California Civil Code §51(b) (emphasis added).
 9            52.    California Civil Code §51.5 also states, in part: “No business,
10     establishment of any kind whatsoever shall discriminate against…any person in
11     this state on account” of their disability.
12            53.    California Civil Code §51(f) specifically incorporates (by reference)
13     an individual’s rights under the ADA into the Unruh Act.
14            54.    California Civil Code §52 provides that the discrimination by
15     Defendants against Plaintiff on the basis of his disability constitutes a violation of
16     the general antidiscrimination provisions of §51 and §52.
17            55.    Each of Defendants’ discriminatory acts or omissions constitutes a
18     separate and distinct violation of California Civil Code §52, which provides that:
19            Whoever denies, aids or incites a denial, or makes any discrimination
20            or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
              every offense for the actual damages, and any amount that may be
21            determined by a jury, or a court sitting without a jury, up to a maximum
22            of three times the amount of actual damage but in no case less than four
              thousand dollars ($4,000), and any attorney’s fees that may be
23            determined by the court in addition thereto, suffered by any person
24            denied the rights provided in Section 51, 51.5, or 51.6.

25            56.    Any violation of the Americans with Disabilities Act of 1990
26     constitutes a violation of California Civil Code §51(f), thus independently
27     justifying an award of damages and injunctive relief pursuant to California law,
28     including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any

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 1     individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 2     336) shall also constitute a violation of this section.”
 3           57.    The actions and omissions of Defendants as herein alleged constitute a
 4     denial of access to and use of the described public facilities by physically disabled
 5     persons within the meaning of California Civil Code §51 and §52.
 6           58.    The discriminatory denial of equal access to and use of the described
 7     public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
 8           59.    As a proximate result of Defendants’ action and omissions,
 9     Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
10     §52, and are responsible for statutory, compensatory and actual damages to
11     Plaintiff, according to proof.
12                                      PRAYER FOR RELIEF
13            Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
14     forth in this Complaint. Plaintiff has suffered and will continue to suffer
15     irreparable injury as a result of the unlawful acts, omissions, policies, and
16     practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
17     he requests. Plaintiff and Defendants have an actual controversy and opposing
18     legal positions as to Defendants’ violations of the laws of the United States and
19     the State of California.
20            The need for relief is critical because the civil rights at issue are paramount
21     under the laws of the United States of America and the State of California.
22            WHEREFORE, Plaintiff prays judgment against Defendants, and each of
23     them, as follows:
24                  1.     Issue a preliminary and permanent injunction directing
25           Defendants as current owners, operators, lessors, and/or lessees of the
26           Subject Property and premises to modify the above described property,
27           premises, policies and related facilities to provide full and equal access
28           to all persons, including persons with physical disabilities; and issue a

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 1          preliminary and permanent injunction pursuant to ADA §12188(a) and
 2          state law directing Defendants to provide facilities and services usable
 3          by Plaintiff and similarly situated persons with disabilities, and which
 4          provide full and equal access, as required by law, and to maintain such
 5          accessible facilities once they are provided; to cease any discriminatory
 6          policies; and to train Defendants’ employees and agents how to
 7          recognize disabled persons and accommodate their rights and needs;
 8                2.     Retain jurisdiction over the Defendants until such time as
 9          the Court is satisfied that Defendants’ unlawful policies, practices, acts
10          and omissions, and maintenance of physically inaccessible public
11          facilities and policies as complained of herein no longer occur, and
12          cannot recur;
13                3.     Award to Plaintiff all appropriate damages, including but
14          not limited to actual and statutory damages according to proof;
15                4.     Award to Plaintiff all reasonable attorney fees, litigation
16          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
17          California Civil Code §52; and
18                5.     Grant such other and further relief as this Court may deem
19          just and proper.
20
21
       DATED: May 20, 2025                           VALENTI LAW APC
22
23                                             By: /s/ Matthew D. Valenti
24                                                 Matthew D. Valenti
25                                                 Attorney for Plaintiff
                                                   David Perez
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                                          COMPLAINT - 16
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 1                                     JURY DEMAND
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             Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3
       jury is permitted.
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 5
 6
 7     DATED: May 20, 2025                           VALENTI LAW APC

 8
                                               By: /s/ Matthew D. Valenti
 9
                                                   Matthew D. Valenti
10                                                 Attorney for Plaintiff
11                                                 David Perez

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                                         COMPLAINT - 17
